Case 2:17-cr-00206-.]AK Document 28 Filed 05/15/18 Page 1 of 1 Page |D #:103

 

 

 

 

 

 

M em orandum
Subject: ‘ 7 ' Date:
United States v. Trevon Maurice Franldin May 15, 2018
CR No. l7-206§A)-JAK _`! c
TO: From: § f:

§ ': 5
KIRY K. GRAY ELLEN LANSDEN § ".,;:.4 ' :_;
Clerl<, United States Distriot Court Assistant United States Attl{ome':§"~ " ` en
Central District of California National Seourity Divisiont § ' ».-;2

For purposes of determining Whether the above~ret`erenced matter, being iile<i on May 15;:2018:
:i »>

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(a) should be assigned to the Honorable André Birotte Jr., it §
|:l is l
is not
a matter that Was pending in the United States Attorney’s Oftice (USAO) on or before

August 8, 2014, the date the Honorable André Birotte Jr. resigned from his position as the
United States Attorney for the Central Distriot of California.

(b) should be assigned to the Honorable Miohael W. Fitzgerald, it
is

|:l is not

(l) a matter that Was pending in the Terrorism and Export Crimes Seotion in the USAO’s
National Security Division on or before August 3, 2015; (2) a matter pending in the
USAO’s National Seourity Seotion in the USAO’s Criminal Division on or before August
3, 2015, or a matter in Which the National Seourity Section Was previously involved; (3) a
matter pending in the USAO’s National Security Division on or after September l4,

' 2016 ; or (4) a matter in Whioh Assistant United States Attorney Patriol< R. Fitzgerald is or
has been personally involved or on Which he has personally consulted While employed in

the USAC.
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ELLEN LANSDEN
Assistant United States Attorney

 

